               EXHIBIT A
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                      SPRINGFIELD POLICE DEPARTMENT
                                      Paul F. Williams, Chief of Police


                             STATEMENT OF:          Agent Anthony Gasperoni

                             MADE :                 November 19, 2020

                             PRESENCE OF:           Detective Kelly Patton



Q:     Detective Patton
A:     Agent Gasperoni
M:     Attorney Tyson Martin


(Sound of door opening and closing)

Q:     Yeah, just have a…have a seat for me right there, thank you. So, first of all, gentlemen, I’m…I know
       it…sometimes it can be muffled when we talk, but I…I am okay, if everybody else is okay, with removing
       their masks. Are you okay with that?
A:     Yes, sir.

Q:     So, we’ve already met but I want to introduce myself again to you; I’m Detective Patton, work for
       Springfield Police Department, and I appreciate you comin’ in ‘cause this is about a shooting incident that
       happened down there on Maryland that you were involved in, is that correct?
A:     Yes, sir.

Q:     And today you’re willing to come in and give a statement about that…
A:     Yes, sir.

Q:     …is that correct? Okay, so before we get started, I just want to ask you a couple of general questions,
       okay. And some of ‘em might seem a little strange, but it’s just basically general information here. What
       is your last name?
A:     Gasperoni. G as in George, A-S, P-Paul, E-R-O-N-I.

Q:     And what’s your first name?
A:     Anthony.

Q:     Anthony, what’s your middle initial?
A:     J-John.

Q:     And what’s your date of birth?
A:     05-10-1990.

Q:     Okay. I’m gonna ask you a few more questions here in a minute about some…some general stuff, but
       basically, before I get started and ask you any questions, I want to make sure you understand, you know,

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     that this is an investigation, and I’m gonna ask you questions about that, but before I do that, I want to
     make sure you understand your rights.
A:   Yes, sir.

Q:   And I know you’re here with your attorney today, Mr. Martin…
A:   Yes, sir.

Q:   …but still, we’re gonna go ahead and go through this just so you understand completely and fully what
     your rights are, okay?
A:   Yes, sir.

Q:   So, what this says here, it says you have the right to remain silent. Anything you say can and will be used
     against you in a court of law. You have the right to talk to your lawyer before making any statement or
     answering any question, and you may have him present during questioning. If you cannot afford an
     attorney, one will be appointed to represent you before any questioning, if you wish. You can decide at
     any time to exercise these rights, not answer any questions or make any statements. Do you understand
     these rights?
A:   I do.

Q:   Okay. So, this basically says, I have had the above statement of my rights read to me and I fully understand
     each of them. And if that’s the case, I’ll have you sign right there. That’s just acknowledging that you
     understand the rights. And do you have any questions?
M:   No, sir.

Q:   And then also, do you care if you date it for me as well?
A:   What you got (unintelligible)

Q:   Eleven-nineteen-twenty, and I’ve got…I have one-oh-seven, I think…ish. Thank you, sir. So, I asked you
     your name and your date of birth. You are a federal agent and you work for…
A:   The DEA.

Q:   DEA, and that’s…that’s…what does DEA stand for?
A:   The Drug Enforcement Administration.

Q:   Okay, so, how long have you been employed by the DEA?
A:   Just about a year and a half.

Q:   Okay. So, as part of the DEA…I know I work for the Police Department here and I have a badge number
     that’s assigned to me. Do you have any kind of serial number or badge number assigned to you?
A:   Yes, I have a credential number and then I have a badge number as well.

Q:   What’s your credential number? If you have it.
A:   I’ve gotta look. It is 503951.

Q:   Okay, thank you, that’s…so, do you have any other law enforcement experience?
A:   Yes, sir, I do.

Q:   Kinda describe that to me.
A:   I was a police officer for the City of Maryland Heights.

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Q:   Okay.
A:   For just over six years.

Q:   Okay.
A:   And Maryland Heights is within St. Louis County. It’s a municipality.

Q:   Okay. What did you do while you were there?
A:   I was on patrol for about two years, and then I was also on Maryland Heights Community Response Unit
     for about four years.

Q:   What’s that?
A:   It’s essentially a street enforcement team.

Q:   Okay.
A:   Proactive enforcement.

Q:   So, drugs, gangs…
A:   Correct.

Q:   …stuff like that? And what’d you call it? Community…?
A:   The Community Response Unit.

Q:   Okay, so then what…when were you employed by the DEA?
A:   February of 2019 is when I started. I graduated from the academy in June of 2019.

Q:   Okay, and did you go directly from being a police officer at Maryland Heights to the DEA?
A:   Yes, I did.

Q:   Okay, and you said that was for approximately six years.
A:   Yes.

Q:   Okay, so you’re…are you actually assigned to Springfield?
A:   I am.

Q:   Okay, and…and have you been assigned to Springfield the whole time?
A:   Yes. I’ve been down here since about August of 2019.

Q:   Okay, so…kinda how I want to do these…these interviews is that I want to give you the opportunity just
     to kinda…I want…we’re gonna…I’ll have you start and kinda tell me a little bit about the day—and I
     believe this is November the second—and…
A:   Correct.

Q:   …just kinda want to…to kind of lead up to this, to the shooting incident that happened and…
A:   To the…

Q:   …just tell me a little bit about your day.
A:   Okay. We were contacted by Task Force Officer Nick Mittag, who was conducting mobile surveillance
     and was requesting help, and…

Q:   Okay. Let’s…let’s back up even just a little bit, okay?
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A:   Okay.

Q:   Just so I kinda get an idea. So, on the second…
A:   Mm hmm.

Q:   …you were working, is that correct?
A:   Yes, I was.

Q:   Okay, and what were you working, or what were you doing? What was your…just your general, everyday
     kind of…
A:   That morning?

Q:   Yeah.
A:   That morning I had a separate interview with diversion investigators from Kansas City down in Stone
     County, and then I came back to the office.

Q:   Okay, then…so then, was there anything else you did that day?
A:   Not before I did the interview and then came back.

Q:   Okay. So then, you said you were contacted by a TFO from…from Springfield?
A:   Yes, Task Force…Task Force Officer Nick Mittag.

Q:   Okay, and how…how did he contact you? I mean, did he call you on the phone? Did you…did he call you
     on the radio, or did…how did you know to go?
A:   We…three guys…three guys left the office. It was…we were contacted via telephone.

Q:   Okay, and what…what did TFO Mittag…
A:   He requested help for surveillance.

Q:   Okay, can you tell me anything about that surveillance?
A:   Yes. Basically, when…when we responded, we responded to the area of…I believe it was the Sunshine
     and Campbell area.

Q:   Okay.
A:   So, at that point we were all on the radio. TFO Mittag advised that he had lost the target vehicle heading
     northbound on Campbell from Sunshine.

Q:   Okay. So, after you…after he says he…he loses this person he’s following…
A:   Correct.

Q:   …what did you do?
A:   So, myself and Agent Stuart are in the general area and we both proceeded northbound on Campbell in an
     attempt to locate the vehicle and continue the surveillance.

Q:   Do you remember what you were trying to follow, by chance?
A:   A red vehicle; I don’t remember.

Q:   Okay. But you say Mittag…TFO Mittag lost sight and then you guys went northbound on Campbell to try
     to find it?
A:   Right.
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Q:   Find this car?
A:   Yes, sir.

Q:   And did you find that car?
A:   No, we did not.

Q:   Okay, so…so, at…at that point in time, what’s the plan? What are you guys gonna do?
A:   So, we were still searching for the vehicle at that time. I checked the…there’s a gas station right there at
     Campbell and Grand, on like the northwest corner, I think it’s a Rapid Roberts.

Q:   Okay.
A:   It’s right across from that apartment complex. I checked that for the vehicle; that was no avail. Then I
     responded to the Casey’s down at Grand and Grant—that’s also on the northwest corner of the street—to
     check for the vehicle. At that time, Agent Stuart was checking the Wal-Mart parking lot.

Q:   Okay.
A:   And he contacted me via radio and said he had just observed a hand-to-hand narcotics transaction.

Q:   You said he was at the Wal-Mart?
A:   Yes, there’s a Wal-Mart at…it’s Campbell and…Campbell and Grand, right on the southwest corner.

Q:   Okay. And you say he called…you…he called out on the radio to you?
A:   Yes.

Q:   Okay, so go ahead.
A:   I’m sorry?

Q:   Go ahead.
A:   So, he was requesting assistance on surveillance of that, basically that narcotics transaction.

Q:   Okay, did he give you any information over the radio?
A:   Yes, he…he advised that a white male did a hand-to-hand with a red Pontiac G6 that was parked in the
     parking lot. There’s…there’s an apartment complex, or two apartment complexes, right on the south end
     of where the Wal-Mart is, off of Normal.

Q:   Okay.
A:   It’s like 428 and 410 Normal, I think, are where the apartments are located.

Q:   Okay.
A:   So, we set…I set up surveillance…er, I set up there and had a takeaway to follow the red Pontiac from
     that narcotics transaction.

Q:   You…you just said takeaway, what does that mean?
A:   So, I guess for us, when we’re doing mobile surveillance, if there’s a car parked at a location, somebody
     goes east, somebody goes west, somebody goes north, somebody goes south in an attempt to kind of cover
     all of our bases so we can…so we don’t lose it after the first turn off of the parking lot.

Q:   Okay, so you’re talking about your surveillance.
A:   Yes. Yes, sir.
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Q:   And…and what term did you use again?
A:   Takeaway.

Q:   Takeaway. And so, is this kind of like a…I mean, is this a…in layman’s terms, is this like a rolling…
A:   Yes.

Q:   …or changing tail, I guess you’d say?
A:   Essentially. It’s…it’s a surveillance strategy.

Q:   Okay, so…and just so I’m clear…was it just you and Agent Stuart…
A:   Yes.

Q:   …at this point in time?
A:   Yes, it was.

Q:   Okay, and then you said you set up where?
A:   So, I was…I was at the intersection of eastbound Grand at Campbell as the car was leaving, as the vehicle
     was leaving.

Q:   Okay, and you say vehicle; what vehicle are we talking about?
A:   The red Pontiac.

Q:   Okay, so what keyed you in on the…on the red Pontiac?
A:   Agent Stuart advised over the radio that that was the vehicle that was involved in the hand-to-hand
     narcotics transaction.

Q:   Okay, and what was he asking you to do?
A:   To follow it.

Q:   Okay. Okay, and…and did you follow it?
A:   Yes, we did.

Q:   Okay, so tell me, from that point on, kinda what happened.
A:   So, we maintained global surveillance of that red Pontiac until it arrived at…I believe the address is 1605
     Central. It’s at Central and Delaware, it’s the second house on the north side of the street, on Central.

Q:   Okay.
A:   It’s like if you’re on north on Delaware and you make the eastbound turn onto Central, it’s the second
     house on the north side of the block.

Q:   Okay, and do both of you follow it there?
A:   Yes, we do.

Q:   Both you and Stuart? Agent Stuart?
A:   Yes. We observed it park in a…park in the driveway.

Q:   The G6?
A:   Yes, we did.

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Q:   Okay. And then what happened?
A:   We responded back to the area of the…of the original narcotics transaction that occurred.

Q:   So then, you went back to the Normal…the Normal address or the area…
A:   Correct.

Q:   …by the Wal-Mart?
A:   Correct. And Agent Stuart had previously advised too, that he observed the suspect that did the hand-to-
     hand transaction go into apartment number three of the Lexington apartments.

Q:   Okay, and when did he tell you that bit of information?
A:   I’m sorry?

Q:   When did he tell you that?
A:   While…while we were setting…while I was getting set up to follow the vehicle.

Q:   The first time while you were there?
A:   Right, right.

Q:   Okay, and he said somebody came out of number three and…and…and that’s who he saw the…the hand-
     to-hand with the…someone in the Pontiac?
A:   He observed the person who did the hand-to-hand with the Pontiac go into that…into that apartment after
     the…after the transaction.

Q:   Okay. Okay, so now you’re back at…at…at the Wal-Mart area, back over here on Normal, is that correct?
A:   That’s correct.

Q:   And are both of you there?
A:   Yes, sir.

Q:   Okay. So, once you get set up there, tell me what happened.
A:   So, I observed a U-Haul pickup truck with an Arizona license plate park in the parking lot of the apartment
     complex near door number three.

Q:   Okay.
A:   I observed a white male get out of that vehicle and walk up to door number three and knock on the door,
     which went unanswered.

Q:   Okay.
A:   I observed that white—that same white male—enter back into the driver’s seat of the U-Haul pickup truck
     and wait.

Q:   Okay.
A:   Shortly thereafter, I observed him get back out of his vehicle and go into the apartment number three at
     this time.

Q:   So, he was sittin’ in the truck…he first went to the door and then he went back to the U-Haul…
A:   Mm hmm.

Q:   …and you said he sat for a few minutes, or…
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A:   Yeah, he sat for a short amount of time.

Q:   Okay, and then he went back to…
A:   Back…

Q:   … door number three?
A:   …correct. And he went inside the apartment.

Q:   Okay. And was the door open or, I mean, is it…did somebody open the door, did he open the door, or
     could you tell?
A:   I…I couldn’t tell.

Q:   All right. But you saw him go into the apartment?
A:   Yes, I did.

Q:   Okay.
A:   When he…he was in the apartment for a short amount of time, as minutes, I observed him come back
     outside, open the door…open the driver’s door of the U-Haul, close it and then go back inside of apartment
     number three.

Q:   Okay, so I’m gonna kinda stop you right there, if…if it’s okay, just for a second. Because I kinda need…I
     kinda need to know kinda what you’re thinking at this point in time.
A:   Okay.

Q:   What are you…and, you know, as a law enforcement officer, what are you kinda…what’s kinda goin’
     through your mind, thinkin’, okay, this…I see this, I see that, I see whatever.
A:   That there’s another…this is another drug transaction that’s occurring.

Q:   Okay, and…and why would you think that that’s a drug transaction?
A:   Through my training and experience, and we had just observed a previous narcotics transaction with the
     occupant of apartment number three…

Q:   Okay.
A:   …and this behavior would be consistent with that of a…of a narcotics transaction out of a residence or an
     apartment.

Q:   Okay. So then, he comes back out…er, I’m sorry, he stays in there; he’s in there for a few more minutes?
A:   I’m sorry, what was that?

Q:   He stays in the…in the…in the apartment for a few more minutes? Or at least…
A:   Was this…was this after he just opens the door?

Q:   Well, yeah, you said he goes in…you said he goes into the apartment.
A:   Correct.

Q:   And you said he’s only in there for a few minutes, is that right?
A:   Correct.

Q:   And then he comes back out and he gets back into the U-Haul?
A:   So, he opens the door for a brief second…
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Q:   Okay.
A:   …and then he goes back in the house.

Q:   Okay.
A:   For a very short amount of time; it was less than a minute.

Q:   Okay.
A:   And then he comes back out and gets in the U-Haul.

Q:   Okay, he goes and comes back twice…
A:   Correct.

Q:   …is that correct? Okay, then what do you see?
A:   We observed him leave the parking lot.

Q:   Okay. In the truck?
A:   Yes, in that white U-Haul. It’s…and it’s like a Ford F150 pickup truck, it’s not like a big enclosed box
     trailer; it’s just a normal white pickup truck.

Q:   Okay. And so, what’s the plan at that point?
A:   So, we’re gonna conduct mobile surveillance of that U-Haul now.

Q:   And how are you…how are you…how was this being orchestrated?
A:   Via radio.

Q:   Okay. And, I mean…so, is this your…at this point in time, whose investigation, really is this?
A:   This is John’s investigation.

Q:   ‘Cause he…
A:   (Unintelligible)

Q:   …’cause he sees it first, is that correct?
A:   Yes.

Q:   Okay, and so who is actually kind of orchestrating this on the radio? Is it John or is it you?
A:   It’s John.

Q:   Okay. And is he the one telling you to, say, “hey, look, we’re gonna…we’re gonna follow this truck”?
A:   Correct.

Q:   Okay, so once he says we’re gonna…we’re gonna follow this and you see it leave, kinda just fill me in
     from there.
A:   Okay, we followed the vehicle southbound on Campbell to eastbound on Sunshine, and then the vehicle
     went southbound on Maryland.

Q:   Okay.
A:   So, at that point I was paralleling the car on, I believe it’s Hampton, one block to the east of Maryland.

Q:   Okay.
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A:   I didn’t turn on Maryland with the vehicle at that time; Agent Stuart did.

Q:   So, you said you didn’t turn on the vehicle at that time, so what…what does that mean?
A:   I didn’t…I didn’t turn onto Maryland Street with the vehicle; I actually passed the vehicle.

Q:   Okay.
A:   And I went one block over and then I turned on Hampton and went southbound.

Q:   Okay, and then where does that leave Agent Stuart?
A:   He was following the vehicle southbound on Maryland.

Q:   So, I just want to make sure; you passed…you passed by the vehicle. Are you…are you the first one? So,
     is it the U-Haul, then it’s you, and then Stuart, is that correct?
A:   Yes, essentially. I believe I was in the other lane so I couldn’t make the southbound turn.

Q:   Okay.
A:   So, I jumped over and then went one block over to parallel the vehicle.

Q:   Okay, so then you went past as the…as the car turned onto Maryland.
A:   Correct.

Q:   And then, is that when Stuart—Agent Stuart—turned on Maryland, and then you say you went down?
A:   Correct.

Q:   Okay.
A:   So, I was on Hampton at that time.

Q:   And Hampton’s one street, what, east of…
A:   It should be one street to the east of Maryland…

Q:   Okay.
A:   …off of Sunshine.

Q:   And are you guys talking on the radio at this point in time, or…how are you communicating with Agent
     Stuart?
A:   Via radio.

Q:   Okay.
A:   Via radio. We’re talkin’ to each other, calling the direction of travel.

Q:   Okay.
A:   So, like I called…I called the direction of travel that he’s going southbound on Maryland.

Q:   Okay, so as…just go ahead after that. You said you turned southbound on…on Hampton, and just kinda
     fill me in from there.
A:   So, Agent Stuart contacted me via radio that he was making contact with the driver of the U-Haul.

Q:   Okay.
A:   So, I went southbound on Hampton to the next block and basically squared the block to come back
     northbound on Maryland.
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Q:   Okay. Go ahead.
A:   And then I arrived at the incident location.

Q:   Okay, and when you say incident location, we’re talkin’ about, what, 1827?
A:   I believe that’s the address.

Q:   Okay, so tell me what you saw when you showed up.
A:   So, I observed Agent Stuart with the…dealing with the driver of the U-Haul, speaking with him at the car.

Q:   Okay.
A:   I observed a unknown passenger car that was parked in front of the residence, that was also facing
     northbound. Basically, the U-Haul and that car were about nose-to-nose…

Q:   Okay.
A:   …one was facing north, the U-Haul was facing south, parked in front of the residence.

Q:   Okay, and what color was that car, did you say?
A:   I don’t know. Don’t remember.

Q:   Don’t remember? But you said it was a passenger car, right?
A:   It’s a passenger car; it was not an SUV or a pickup truck, it was a passenger car.

Q:   Okay, so you see Agent Stuart interacting with the driver?
A:   Correct.

Q:   And I don’t want to assume anything, but was there anybody else inside the…the U-Haul truck with…
A:   No, there was nobody else inside.

Q:   Just the driver? Okay.
A:   Not in that vehicle.

Q:   So, Agent Stuart is…is dealing with the driver of the U-Haul.
A:   Correct.

Q:   And then, what do you do when you get there?
A:   And so, I get out of my vehicle, and Agent Stuart tells me that…so, I observe that there’s somebody also
     in the front lawn area, walking away from this passenger car, going towards that residence.

Q:   Okay.
A:   And then I also observed somebody who’s also in the driver’s seat of this passenger car, this unknown
     passenger car.

Q:   Okay, so we have someone in the driver’s seat…
A:   Of the passenger car.

Q:   …of the passenger car.
A:   Mm hmm.

Q:   And then you say someone was walking in the…in the…in the front yard?
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A:   Correct. Away from the vehicle.

Q:   Okay.
A:   Stuart tells me that...Agent Stuart tells me that the…basically the suspect in the front…er, the subject in
     the front yard and the subject in the other passenger car were not following his directions to remain inside
     of the vehicle.

Q:   So, was he telling them to stay in the car?
A:   I believe so.

Q:   Okay, and…
A:   I…I didn’t hear…I didn’t him say that.

Q:   …and so, how is he relaying this information to you?
A:   He’s just telling…he’s basically yelling it to me.

Q:   Okay, and…and he’s telling you what…say that again, that they’re not…they’re not paying attention or
     they’re not listening to him, is that…
A:   They’re not listening to his…his commands.

Q:   Okay. And that…I’ll…I’ll just let you go ahead and keep fillin’ me in from there.
A:   So, I asked the person who was walkin’ away from the vehicle, I was like, “Hey, where are you going?”
     And he responded, “I’m goin’ to my fuckin’ house.”

Q:   And he responded with…he said…he said what now?
A:   “I’m going to my fucking house.” It was in a…it was in a very aggressive tone, like he was amped up.

Q:   Okay. So, did you ask him, did you tell him, did you give him any kind of commands to stay there?
A:   I was like, “Hey, man, why don’t you just come back over here?”

Q:   Okay.
A:   So, I just asked him to come back over, and he did.

Q:   He did?
A:   Yes, he complied at that time and just came right back over. While he was walking over, I removed my
     ballistic vest from my vehicle, and I was putting it on at that time.

Q:   Okay, so…just so I know exactly what’s goin’ on here: You pull up and you stop and whenever you get
     out, you still see Agent Stuart talking to the driver of the U-Haul.
A:   Correct.

Q:   You see a guy…someone in the pass…in the driver’s seat and then you see someone in…walking away
     from this passenger car.
A:   Mm hmm.

Q:   You see someone in the driver’s seat of the passenger car and someone walking away. And so, you step
     out of your car, which, by the way, let’s…let’s…let’s just get a few things cleared up here. What are you
     actually driving, as far as any kind of car?
A:   A silver Dodge Journey.

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Q:   Dodge Journey?
A:   Yes.

Q:   Okay, and what was Agent Stuart driving?
A:   It’s like a dark blue—Navy blue—mini-van. It’s a Dodge Grand Caravan.

Q:   Okay. So, as you get out, and then you ask this gentleman, say, “Hey, can you stay here?” and then he
     says something along the line of, “I’m going to my fucking house.”
A:   I just asked…I asked him where he was going.

Q:   Oh, okay, you asked him where he was going.
A:   Mm hmm.

Q:   And he said, “I’m going to my fuckin’ house,” and then…then you asked him again, just, “Hey, why don’t
     you come back over here?”
A:   Correct.

Q:   Okay, so then at that point in time, you said…you were stepping out and you were putting on your…
A:   I had already stepped out of the…out of my vehicle.

Q:   Okay.
A:   So, I was retrieving my vest from my vehicle at that time.

Q:   Okay, and where do you keep your vest at?
A:   So, over the headrest of the driver’s seat.

Q:   So, behind you?
A:   Correct.

Q:   So, (unintelligible)
A:   Like…yeah, so like the back panel, I actually…my back is on, and then I can pull it over the top of me.

Q:   Okay. Kinda describe what you…what you were wearing that day, if you don’t mind.
A:   I was wearin’ a pair of blue jeans, white Adidas shoes, red tee shirt, and a black Columbia jacket.

Q:   Okay, and is this like a…is this a typical…something that you wear typically every day with your job?
A:   Yeah, I wear plain clothes every day. I just wear blue jeans and a tee shirt or…

Q:   Okay.
A:   It’s kind of weather-dependent.

Q:   And why do you wear blue jeans and…and tee shirts versus, you know, you see police officers out here
     all the time being completely uniformed up and all that. Why do…why do you have that kind of…well, I
     won’t call it uniform, but…
A:   It…it assists us with surveillance and blending in.

Q:   Okay. So, you have the clothing on, and then you say you’re…you’re getting out your…your vest. Can
     you describe your vest to me?
A:   It’s tan in color. It has Police on the front and back in big yellow and gold block letters.

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Q:   Okay, so is it…so, is it…is it kind of a vest that you…you put on like a jacket, or is it a vest you throw
     over your back and your front and you kinda close the sides up? ‘Cause we know there are several different
     kinds.
A:   Correct, it’s…you have to throw it over your head and then strap it from side to side.

Q:   Okay, and then were you wearing anything else that identified you as a police officer or a law enforcement
     agent?
A:   Not at that time.

Q:   Okay. Did you have the opportunity or anything to tell this gentleman that’s walking away, or the
     gentleman in the…in the car, your name or give any kind of credentials?
A:   When he…when he approached, while he was still walking up while I was putting the vest on, he made
     mention that it was unprofessional that I was putting my police vest on while…after having already gotten
     out of the car.

Q:   Okay, kinda…what did he say?
A:   He…he used the term unprofessional…

Q:   Okay.
A:   …when referring to me putting my vest on.

Q:   Kinda be a little more descriptive about what he said. He said…he didn’t just say you were unprofessional,
     but just kind of tell me exactly what he said if you can.
A:   I mean, he…

Q:   So, he obviously was able to read that it said Police Officer, I guess, is what I’m saying.
A:   Correct.

Q:   Okay.
A:   Yeah, it’s in big yellow and gold letters across my chest while I’m strapping it up and he called it
     unprofessional that I was putting my vest on.

Q:   Okay, in your mind, what is that telling you about his perception of you?
A:   That he had me (unintelligible) identified me as a law enforcement officer.

Q:   Okay, and then he came back towards you, is that correct, whenever you told him, “why don’t you just
     come …” or asked him, “Hey, why don’t you just come back over here?”
A:   Correct.

Q:   Is that…okay. And why do you think he came back?
A:   I don’t know.

Q:   I mean, is he…is he…he’s able to hear you, right?
A:   Oh, he’s able to hear me.

Q:   Okay, so if he hears you and sees you havin’…havin’ a vest on, I mean, and you’re asking him to come
     back, so is he obeying with, you know, your…your request that he’s coming back…to come back?
A:   Yes, he is.

Q:   Okay. So, at this point in time, when he comes back towards you, where is Agent Stuart at?
                                                                                                             14

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A:   He’s still speaking with the driver of the U-Haul. At that point, they’re off to my right and I’m more
     paying attention to the two individuals that I’m now currently…

Q:   Okay. Okay, so when he turns around and comes back to you, tell…describe the interaction to me.
A:   So, I…I asked him what his name was; he identified himself as Caleb. I asked the other gentleman in the
     vehicle what his name was; he said what his name was, and I don’t remember what his name was.

Q:   Okay.
A:   And we made a short amount of small talk.

Q:   And when you say, “we did,” who…who did you make the small talk with?
A:   Caleb and this third…this third person in this car.

Q:   Okay.
A:   At this point, his…like, the door’s open and I don’t have to yell and scream at him. Like, his door is open,
     and his feet are outside of the car, but he’s kinda still half-sitting in the driver’s seat.

Q:   So, the driver’s door is open?
A:   The driver’s door of the passenger car, yes.

Q:   Okay, so you’re able to talk to both the driver and…and…and Caleb, the gentleman who identified…did
     you say his name was Caleb?
A:   Yes.

Q:   So, you’re havin’ a little bit of small conversation.
A:   Yes, very brief.

Q:   Do you remember what you guys said?
A:   I don’t.

Q:   Okay. Okay, go ahead.
A:   So, while I was speaking with Caleb and the other individual, I observed Caleb’s right hand move towards
     his right rear waistband area.

Q:   Okay.
A:   At which point I immediately requested that he do not reach for his waistband, as I didn’t know if he was
     in possession of a firearm.

Q:   What did you say to him, specifically?
A:   Specifically, “Hey man, don’t be reachin’ for your waistband or anything. I don’t know if you have a
     firearm on you.” I used the term firearm.

Q:   Okay.
A:   That’s about normally what I say.

Q:   Okay, and did he actually touch his waistband? Did he make…did his hand get to his waistband? Did he
     stop before you…
A:   His…his hand went all the way behind where I was unable to see where his hand was going, but it was
     going towards his waistband area.

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Q:   And which hand was it?
A:   His right hand.

Q:   Right hand? And so, what…back behind? Like this?
A:   Yes. Out of my view.

Q:   Did Caleb say anything to you?
A:   After I…

Q:   Once you said that?
A:   Yes, he…he stated that he was armed, and he used the term armed.

Q:   Okay, then what happened?
A:   So, I immediately identified that through myself, stating that he had a firearm and had him confirming
     that he was armed, that he was, in fact, in possession of a firearm, and that he further needed to be detained
     in reference to this drug investigation and for safety concerns.

Q:   Okay, so you said you determined that he had a gun, is that what you just said? You…you said he reached
     back there, and because he said this to you…
A:   Yes, I believe that he had a weapon at that time.

Q:   Okay, so did you see a weapon at that point in time?
A:   I did not.

Q:   Okay.
A:   I believe he had one.

Q:   But because he made this statement to you, he said, “I’m armed,” and you believed…and you’re at
     a…you’re at a prob…a possible investigation involving drugs, that’s when you believe he has a gun, and
     that you saw him reach back there, and…and because of what he said to you, is that correct?
A:   Clear, and it’s common for people to carry firearms in their waistband; that’s a very common place for
     people to carry firearms.

Q:   Okay.
A:   So, all those things combined…

Q:   And…and, I mean, have you ever had experience with people with…with guns in their waistbands? I
     mean, you in particular, or anybody else that you’ve been around with?
A:   Yes, I have. And I carry my own firearm in my waistband.

Q:   Okay, so he said, “I’m armed.”
A:   Correct.

Q:   At that point in time, what kind of…what action did you take?
A:   So, I reached out and grabbed both the subject’s wrists.

Q:   And kind of…
A:   Both…both…both of his arms were in front of him…

Q:   Okay.
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A:   …at this time.

Q:   And did you ask him to give you his hands, or did you just (unintelligible)
A:   I said, “Hey, hey, come over…hey, come over here.” I initiated it.

Q:   Okay. And what happened when you did that?
A:   He immediately tensed up.

Q:   Okay, and how did he tense up? Kinda describe that to me.
A:   Like full…I guess full contraction of, basically the arm muscles. He’s almost flexing, like.

Q:   So, when you grabbed his arm you can feel…
A:   I can…correct, I can feel the resistance.

Q:   Okay. Okay, go ahead.
A:   So, I called for Off…er, Agent Stuart to respond to my location at that time.

Q:   And how did you do that, how did you call him?
A:   I just said it, I yelled, “John!”

Q:   Okay.
A:   Which is his first name.

Q:   And that’s all you…is that all you yelled?
A:   That’s all I yelled at that time.

Q:   Did you yell it, or did you loudly speak it? I mean…
A:   I yelled it.

Q:   Okay. And so, you called…you called out to…to Agent Stuart by calling his first name. Then what
     happened?
A:   So, Agent Stuart with…had already had the U-Haul driver detained in handcuffs. He brought him over
     and placed…and sat him down in the front yard of the residence.

Q:   Okay.
A:   And then he immediately responded to my location.

Q:   So…
A:   This all happened very quickly.

Q:   …and when you say responded to your location, did he walk over to where you were at?
A:   Walk-jogged.

Q:   Okay.
A:   He…he got there in a timely manner.

Q:   Okay. So, once John walked over to you, what did…what happened from that point on?
A:   John requested the suspect to place his hands behind his back and he grabbed his left wrist so he could be
     detained.

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Q:   So, Agent Stuart asked Caleb to place his hands behind his back.
A:   Correct.

Q:   And then you said Agent Stuart reached out to grab what?
A:   His left arm and wrist area.

Q:   Caleb’s left arm?
A:   Yes.

Q:   Okay, then what happened?
A:   Caleb immediately resisted, turning into Agent Stuart, and the two began to basically wrestle, or fall to
     the ground, at that time.

Q:   Okay, and what are you doing?
A:   So, at that point, I no longer had control of Caleb’s other wrist, and John…er, Agent…Agent Stuart was
     on the ground on his back.

Q:   Okay. So, I just want to make sure I’m clear here. You said you started with…you had your hands on both
     of his hands, right?
A:   Right.

Q:   So, it would be your left hand, his right hand…
A:   Correct.

Q:   …your right hand, his left hand. And then, so Stuart—Agent Stuart—came around to his left side, is that
     correct?
A:   Yes.

Q:   Okay, so then what did you do with your hands once Agent Stuart came around there?
A:   So, that’s when the resistance began.

Q:   Right, but did you let go of his left hand because…or…or did…you didn’t have control of his left hand,
     is that correct?
A:   Very…very shortly after the touch, I no longer had control of either of his hands.

Q:   After the touch, are you talking about when Stuart came in and…and…
A:   Correct.

Q:   Okay, so did you let go or did he pull out…pull away from you?
A:   He pulled away from me.

Q:   Okay, so he pulled away from your right hand and you said that’s when he…is…is that when he turned
     into Agent Stuart?
A:   Yes.

Q:   Okay, so then that leaves your left hand. So, what’s goin’ on with your left hand?
A:   I had since lost the grip on that hand as well.

Q:   And why did you lose that grip?
A:   Because he pulled away.
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Q:   Okay, so he physically pulled his arm away from your hand?
A:   Correct.

Q:   To what…to…to…I guess…
A:   To begin resisting and fighting with Agent Stuart.

Q:   Okay. And so, describe to me, after he…he…he pulls away from you from that…after you have no hands
     on his hands, you have no control over him, correct?
A:   Right.

Q:   Describe to me what you’re…what you’re seeing then.
A:   So, I observe Agent Stuart go to the ground on his back.

Q:   Okay, and why did Agent Stuart go to the ground?
A:   Due to the resisting.

Q:   Okay, so…
A:   Due to the ensuing struggle between him and Caleb.

Q:   Okay, so did he turn around and…I need you to be a little bit more descriptive, okay?
A:   Okay.

Q:   Because I have to know exactly what happened.
A:   Right.

Q:   He pulled himself out of…away from your grip.
A:   Correct.

Q:   And then, what did he do?
A:   He turned into Agent Stuart and they began to wrestle. They began to roll.

Q:   What did he do, though; did he grab Agent Stuart? Did he punch Agent Stuart?
A:   I…

Q:   Did he bear-hug him?
A:   …I didn’t see any of the strikes. I believe they were basically wrestling over their arms.

Q:   Okay, so is it that Agent Stuart is tryin’ to grab ahold of him and come in and…and then Caleb turns
     around, and is he tryin’ to get away from Agent Stuart, or is he just…I mean, are they comin’ together or
     are they goin’ apart?
A:   They’re comin’ together.

Q:   Okay, and then at some point in time you said what about Agent Stuart?
A:   Is…is now on…on the ground, on his back.

Q:   Okay, so then, describe that to me.
A:   So, Agent Stuart is on the ground, on his back, and he’s tryin’ to gain control of, like, his left arm/left
     shoulder area.

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Q:   Okay.
A:   Left torso area, maybe more his left side. Caleb still has his right arm free.

Q:   Okay.
A:   Caleb’s…so, Agent Stuart is on…on the ground, on his back.

Q:   Okay.
A:   Caleb is not on the ground. He’s not in a guard position or anything, he’s standing up, kind of hunched
     over.

Q:   Okay.
A:   So, he has his feet underneath him.

Q:   Okay.
A:   And at that point in time I removed my weapon from its holster.

Q:   Okay. Continue.
A:   So, at that point, Caleb begins to reach with his right hand towards his right rear waistband area…

Q:   Okay.
A:   …for the second time as they…

Q:   Go ahead.
A:   …as…as they continue to struggle.

Q:   Okay, so are they still actively engaged with each other?
A:   They are still actively engaged with each other at this time.

Q:   Okay, and then you…so, can you tell what Agent Stuart is doing on the ground?
A:   I believe he’s attempting to gain control of his arms.

Q:   Okay, and then did you say what Caleb’s got in his left hand? Is it involved with Agent Stuart, in some
     way, shape, or form…
A;   Yes.

Q:   …is that what you said?
A:   Yes.

Q:   Okay, but then you see his—Caleb’s—right hand is free.
A:   Correct.

Q:   And then you see his right hand go back to his waistband.
A:   Yes.

Q:   And was it the right side again?
A:   Yes, the right rear side.

Q:   Was it the same place you saw him grab…er, putting his hand before?
A:   Yes, it was.

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Q:   Okay. And so I know kinda clearly, where were you standing at, at this time…at this point?
A:   So, I was on the right side of both of them.

Q:   Okay. Okay. And then…just tryin’ to make sure I…I can clearly understand, and…and for those of us…er,
     for those who listen to this later on, where are you at in the yard at this point in time?
A:   Um…

Q:   ‘Cause you know you were right there next to the two cars…
A:   Correct.

Q:   …and the cars were parked in the roadway, right?
A:   Correct.

Q:   So, how far away from those cars were…do you think you were? And you can just guess…
A:   It’s…

Q:   …you don’t…you don’t have to…
A:   …it’s…I…I hate to put a number on it. I mean, we were feet away.

Q:   Okay, that’s what I was sayin’. I’m just…you can tell the difference between five feet and twenty-five
     feet.
A:   Right.

Q:   Just…just close, I want to make sure I understand. And so, do you remember which way they were turned,
     by chance, or…?
A:   It’s…it’s…

Q:   I know it’s pretty detailed, but…
A:   When you say which way they were…

Q:   As they’re fighting, as they’re kind of fighting. Which…who was facing which direction, like east or
     west? Do you remember that, by chance?
A:   When it began?

Q:   As they’re fighting, as John…as…as Agent Stuart is on the ground…
A:   Mm hmm.

Q:   …and you said Caleb’s kinda standing over him?
A:   Correct.

Q:   Do you remember which way, roughly?
A:   Okay.

Q:   Just so I can put you in my mind…
A:   Yeah.

Q:   …in the…in the yard.
A:   Right. So, John, on his back, would’ve been facing…would’ve been facing the residence, so he would’ve
     been facing westbound.

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Q:   Okay.
A:   And then Caleb would’ve been standing over the top of him, facing eastbound, then.

Q:   Okay. And so…
A:   And I would’ve been covering from north of their location.

Q:   Okay.
A:   So, I was on the right side, so I was on the north side of them.

Q:   And that helps me kinda really put it in perspective where you’re at, so…
A:   Okay.

Q;   …so let’s get back to kinda what’s goin’ on here. You see Caleb reach for his—with his right hand—to
     his waistband.
A:   Correct.

Q:   And then what…what do you see and what do you do?
A:   So, I’m still…I’m…I’ve already removed my firearm and I’m covering…covering to make sure that he
     doesn’t pull a firearm and…

Q:   Okay. What do you see?
A:   So, at this point, then Caleb breaks free.

Q:   Okay.
A:   And I don’t know if he stumbled, stepped, or how he moved, but he created a short amount of distance
     from Stuart at this time, and myself.

Q:   Okay.
A:   So, he would’ve been moving more west, I guess, towards the residence.

Q:   Okay. Continue.
A:   And at that point, he once again goes right hand to right hip in a shooter’s draw.

Q:   Okay.
A:   And I discharged my firearm.

Q:   So, is that a second time, or would that be a third time that he went to his…
A:   That would be the third time, correct.

Q:   I just want to make sure ‘cause you said he broke away, created distance…
A:   Mm hmm.

Q:   …broke…okay, I just want to make sure I’m…as he’s struggling with Agent Stuart, he reaches to his
     waistband once.
A:   Yes.

Q:   And then he breaks away…
A:   Correct.


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Q:   …and I guess that would be the second time, and then the third time as he’s breaking away, creating this
     distance, you say he reaches out to his waistband a third time.
A:   Yes.

Q:   Okay.
A:   In a drawing motion.

Q:   So, what does that…in your mind, what are you thinking?
A:   That he’s going to pull a firearm and shoot John, who is vulnerable on the ground still, and then turn the
     gun on myself.

Q:   Okay. And then you said you…you had already had your sidearm drawn?
A:   Yes, I had already had my sidearm out, and fearing for Off…er, Agent Stuart’s life and my own life…

Q:   Okay.
A:   …I discharged my firearm.

Q:   Do you know how many times you discharged it?
A:   I do not.

Q:   Okay. What happened after you discharged your firearm?
A:   The—Caleb—fell to the ground and I also experienced a weapon malfunction at that time.

Q:   Okay. And I want to get to that in a second, but let’s continue with your actions, Caleb’s actions, and
     Agent Stuart’s actions. So, when Caleb fell to the ground, what did you do after that?
A:   I…I cleared the malfunction in my weapon and then we made the approach to handcuff him at that time.

Q:   Okay, so what did you do when you approached Caleb?
A:   I observed that he had a firearm sticking out of his waistband area, the right rear…right rear waistband
     area. It was a semi-automatic firearm. I don’t know exactly what color it was—it wasn’t black, it wasn’t
     silver—it was one of those off-colors that you see now for firearms.

Q:   Okay.
A:   I called it out to John, that he had a gun, and…sorry, Agent Stuart, and Agent…Agent Stuart secured the
     firearm.

Q:   Okay.
A:   And then I handcuffed him. I holstered my firearm and handcuffed him.

Q:   Okay. Was Caleb reacting at all at that point in time?
A:   No, he was not.

Q:   You said you placed handcuffs on Caleb?
A:   I did.

Q:   And then…so, you say…you said Agent Stuart actually went to Caleb’s right side and pulled out a firearm,
     is that correct?
A:   Yes.


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Q:   Was that firearm visible at all, or did…did you see how that firearm was…how Caleb had that firearm on
     him?
A:   Can you kinda rephrase that a little bit?

Q:   Yeah, okay, I get that. So, Caleb is laying on the ground, correct?
A:   Yes.

Q:   Is he face up or face down?
A:   He’s face down.

Q:   Okay, and then you place handcuffs on him. So, as Agent Stuart is retrieving this handgun…
A:   Mm hmm.

Q:   …or this gun from Caleb, what did you see? Did you…how was it fastened to his hip? How was
     it…how…how was he carrying this handgun?
A:   So, from what I can remember, it was just sticking out of his waistband area. His shirt was already—from
     falling—was already pulled up, so I could plainly see it, we didn’t have to…

Q:   Okay.
A:   I…

Q:   What part of the gun did you see whenever his…you said his shirt was pulled up; what part of the gun did
     you see?
A:   I observed part of the slide and then the stock.

Q:   Okay.
A:   So, I guess the magazine well.

Q:   So, it was clearly visible as a gun, is that correct?
A:   Yes, sir.

Q:   And then Agent Stuart grabbed…took that gun.
A:   Yes, he did.

Q:   And what did he do with that gun?
A:   I’m guessing he secured it and made it safe.

Q:   Okay.
A:   I…I was…I was…I was handcuffin’ him after he removed the gun.

Q:   Okay. And so, once you handcuffed him, kinda what happened after that point?
A:   So, Agent Stuart responded to his vehicle to get his cellular phone out to call 911, and we requested…well,
     he requested Springfield Police Department and EMS to respond to the location.

Q:   Okay.
A:   The third…the third person still in the driver’s…

Q:   Okay.
A:   …seat area, I believe he was now sitting on the ground next to the vehicle.

                                                                                                              24

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Q:   Okay.
A:   And he asked me if Caleb was still alive.

Q:   Did he say anything else to you?
A:   He did not. He just asked me that question, at which point in time I checked his pulse, both under his
     neck—his carotid—and his, what would’ve been his right wrist…

Q:   Okay.
A:   …and I was un…not able to find a pulse at that time.

Q:   Okay, but you say the driver of the…the little passenger car didn’t say anything else to you?
A:   No.

Q:   What about the guy, the driver of the U-Haul. Did he ever say anything to you?
A:   He did not.

Q:   He ever say anything to John, that you know of?
A:   Not that I know of.

Q:   Okay.
A:   So, I then secured…I…I secured that third individual in handcuffs as well…

Q:   The…the…
A:   …at that time.

Q:   …driver of the passenger car, you put cuffs on him?
A:   Yes, I did.

Q:   And you said Agent Stuart called…called us by phone. ‘Cause you have radios, correct?
A:   Yes, we do.

Q:   And…and your radios, do they connect to our radio system at all?
A:   Yes, they do.

Q:   Okay. But he…the only really effective way that he was probably able to call to get somebody there was
     to call 911 on a cell phone?
A:   Yes, I believe that would be faster than trying to find the radio channel.

Q:   Okay. Well, that makes sense. So then, once he calls 911, what happens?
A:   So, Springfield P.D.—Springfield Police Department—respond and EMS responded to that location.

Q:   Okay.
A:   And they took control of the scene.

Q:   Springfield did, and…and EMS?
A:   Yes.

Q:   And where did…what happened…what did you do? I mean, after the shooting and…and after everybody
     was in kind of control, kind of just describe to me what happened after that.
A:   I went and sat in my vehicle.
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Q:   Okay, why did you do that?
A:   I guess to get away from the scene at that time.

Q:   Okay, were you upset? How…how were you feeling?
A:   I…I mean, I was nauseous for sure. My heart rate was pretty high. I was experiencing an adrenaline dump.

Q:   Okay, and did somebody take you to the car or did you just go to the car yourself?
A:   I don’t remember.

Q:   Okay. So then, you’re in your car; what happens next?
A:   I was contacted…well, I told John that I wasn’t feeling well.

Q:   Okay.
A:   They requested that EMS come over and basically check me out to see how I was feeling.

Q:   Okay.
A:   So, I was later then transported to Mercy Hospital.

Q:   Okay. So, as you’re…during the time when you go to your car and then you’re transported to the hospital,
     did you change clothes, did you…did you do anything with your duty weapon in between all this
     trans…transition?
A:   Yes, sir.

Q:   Okay, what did you do?
A:   So, I removed—at the request of, I believe it was Springfield and my own supervisor—I removed my
     firearm and placed it on my driver’s seat as it was…

Q:   Okay.
A:   …and then I removed my spare magazine as well and also placed that with my firearm.

Q:   Where did you keep your spare magazine?
A:   I keep it in a Kydex holster on my left side.

Q:   Okay.
A:   It’s…it’s the same…

Q:   Okay, and so then your regular carry for you is…is what? On your…on your…on your sidearm.
A:   My department issued is a Glock 17.

Q:   How do you normally carry your…
A:   Concealed.

Q:   Okay. So then, who was…was anybody around you whenever you removed your handgun and put it in
     the seat or when you started to get ready to go to the hospital?
A:   Yes, my supervisor.

Q:   Who is your supervisor?
A:   Jay Forester; he’s the Resident Agent in Charge.

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Q:   Okay, so Mr. Forester—Agent Forester I’m sure—you say he was standing there whenever you…you
     basically took your…your…your sidearm and you put it in the seat, is that correct?
A:   Yes.

Q:   So, he watched you to make sure…
A:   Yes, and I believe there was somebody from Springfield Police Department as well, standing right there.
     I don’t know who that was.

Q:   And did you manipulate it in any way?
A:   No, I did not.

Q:   Okay.
A:   No, it was as…it was as is.

Q:   All right. And then, so as you’re going to the…to the hospital for being attended to by the paramedics…
A:   Mm hmm.

Q:   What about your…your…your uniform or your clothes or your…your…your…
A:   Um…

Q:   …your vest. What…what happened to that?
A:   My vest went with me.

Q:   Okay.
A:   There was thought that they were gonna, I guess, wheel me on the stretcher in front of the house, which
     was not yet cleared…

Q:   Okay.
A:   …and I didn’t feel safe doing that without a vest, so I requested that my vest come with me.

Q:   Okay.
A:   But then they brought the ambulance back around on the other side.

Q:   Okay. What about Agent Stuart? Do you know what happened to Agent Stuart at that point in time,
     once…after Caleb was placed in handcuffs and then we…then SPD shows up and Fire Department and
     EMS. Do you know what happened, where…where Agent…
A:   I believe he was later transported to the hospital as well.

Q:   Okay. So, after…after this, you…did you stay in the hospital very long?
A:   A few hours.

Q:   And did you have any of the other agents with you there?
A:   I had TFO Nick Mittag with me.

Q:   With you, okay.
A:   And then I also had…our new group supervisor responded as well.

Q:   The new supervisor? Is that what you said?
A:   Yes. Yes, we are…we’re kind of in a transitioning phase right now.

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Q:   So, was Mittag already at the hospital or did he meet you there?
A:   No, Mittag rode in the ambulance with me to the hospital.

Q:   Okay. Did you and Mittag; did you talk about this at all, or…
A:   No, we did not.

Q:   …just kinda…okay. What happened to your…to your sidearm? You said you left it in the…in the car
     seat?
A:   Mm hmm.

Q:   Or in the seat of the car.
A:   Yes.

Q:   What happened to that?
A:   I believe it was seized by you guys, by Springfield Police Department. Or it was turned over from
     the…from Forester to Springfield…

Q:   Okay.
A:   …on-scene.

Q:   Okay, so let’s kinda back up a little bit. So, the things that you kinda…that you said to Caleb, I…I just
     need to make sure we’re pretty clear on some of these things. I know that you talked to him as he was…as
     he was walkin’ away from you, and you asked him to come back. And then, at some point in time there
     becomes a struggle with Agent Stuart and…and Caleb, and you’re there on the…on the…on the right side
     of them. Do you remember giving any kind of—in our terms we say “verbal commands”—did you tell
     him to stop doing what he was doing? Did you say anything to him?
A:   I believe that myself and Agent Stuart were both yelling commands. I do not remember what those
     commands were.

Q:   Okay, did you hear…do you remember hearing Stuart at least saying something?
A:   Yes, I believe so.

Q:   Okay.
A:   I just don’t…at this time I don’t remember what was said.

Q:   And why is it, do you think, you don’t remember that, exactly what you said?
A:   The entire incident is a pretty traumatic experience to go through.

Q:   Okay, have you ever been involved in anything like this before?
A:   Yes, I have.

Q:   Okay. Did you experience some of the same things then as you did now, as far as physical…physical
     things?
A:   Yes, I did.

Q:   And what were some of those physical things that you experienced?
A:   Auditory exclusion, the…the same physical symptoms of nausea and the rapid heartrate, the not…not
     being able to remember and process.


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Q:     Okay. In…in totality, of course it’s taken us, what, almost an hour to kinda describe this whole situation.
       And I…I just kinda want to get an idea of reality…
A:     Mm hmm.

Q:     …if you can even remember, from the time that you started to ask Caleb to come back, or better yet, the
       time that you grabbed onto his arms to the time that you discharged your weapon…
A:     Mm hmm.

Q:     …what’s your estimation of the time that that…between those two periods of time?
A:     Between the…

Q:     Time that you grabbed his hands…
A:     Mm hmm.

Q:     …and you felt him tense up, to the point where they get in…get into the…the scuffle, and then you see
       Caleb grabbing…reaching to his waistband, and then you discharging your…your firearm. What…do you
       have any idea, thoughts about how long that time period is?
A:     I would…I mean, approximately, I would say less than twenty seconds.

Q:     Okay.
A:     Less than fifteen seconds, maybe.

Q:     Okay. Okay.
A:     That’s just an approximate; I couldn’t put a time on it.

Q:     I understand that; I’m just tryin to get a…
A:     Yeah.

Q:     Sometimes things…
A:     It happened very, very quickly.

Q:     Okay. If it’s okay with the both of you, I’m gonna step out for a minute and I’ll be back. Do you need
       anything?
A:     Can I get a drink of water real quick?

Q:     Absolutely. Do you need anything?
M:     No, I’m all right.

Q:     I’ll bring it to you.
A:     Oh, thank you.

Q:     Not a problem. I apologize, I should’ve asked a long time ago.
A:     No, that’s all right.

(Sound of door opening and closing)

(Sound of door opening)

Q:     Here you go.
A:     Thank you.
                                                                                                                29

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(Sound of door closing)

(Sound of door opening and closing)

Q:     All right. Just kinda goin’ over some things here. Probably need to clarify a few things, if that’s okay.
A:     Sure.

Q:     So, kinda simple here; conditions outside. So, let’s…let’s…kinda describe to me what…so, this call came
       in, I think, what, around three o’clock, is that correct? Ish? Do you remember outside—obviously this
       happened outside…
A:     Mm.

Q:     …so describe the…was it sunshiny, was it rainy, was it…just kinda tell me about the day.
A:     It was sunshiny and nice outside, probably sixty degrees.

Q:     Okay, so no rain, no fog, no…nothin’ like that, just…
A:     No, sir.

Q:     Okay, do you remember what Mr. …what Caleb was wearing?
A:     I do not.

Q:     Don’t remember? As a…as a DEA agent, are you issued any…anything…I mean, I know as a police
       officer I’m issued lots of different tools, including, you know, baton…
A:     Mm hmm.

Q:     …Mace, Taser, stuff like that. Are you issued, and do you normally carry it with you on your daily job,
       anything other than your…your…your sidearm and your magazine?
A:     No, I do not.

Q:     Are you guys issued Tasers by chance?
A:     We are not.

Q:     What about OC…OC spray or anything like that?
A:     Yes. Yes, we are.

Q:     You are issued?
A:     Yes, the DEA is issued OC spray.

Q:     And do you…but do you carry that with you every day?
A:     I do not.

Q:     Okay. So, what I’d like to go back is…is…is to describe…is for you to describe to me a little bit, at…at
       the time of the shooting, okay? At the time you discharged your weapon, you said you were off to their
       right a little bit, is that correct?
A:     Yes.

Q:     How far away do you think you were from…from them whenever you discharged your firearm?
A:     It…it’s hard to put a distance on it. I mean, we…we were close, but I mean, within…

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Q:   I mean, we’re approximately what, three-and-a-half feet apart, roughly?
A:   Sure.

Q:   Were you closer to…to me, or further away from me?
A:   Further away.

Q:   Further away? Were you ever up close to him to the point where maybe your gun might’ve even touched
     him in any way, shape, or form before…before the shooting?
A:   Yes.

Q:   Okay, describe that to me.
A:   When Agent Stuart was on the ground…

Q:   Uh huh.
A:   …and Caleb was standing over him…

Q:   Okay.
A:   …I was very close. I was…I mean, I was right there.

Q:   Okay, so tell me…tell me what you were doing.
A:   I’m…I was covering Caleb, where like what I would consider covering, I was providing John cover in
     case he was able to produce that firearm.

Q:   But describe that cover to me. Describe where you’re standing, how close you’re standing, what you’re
     doing with your arms, what you’re doing…is your sidearm at that…at that…out at that point in time?
A:   Yes, it is.

Q:   Okay, so what…what’s…just make…paint that clear picture in my mind for me so I know exactly what
     you’re doing.
A:   I’m pointing my gun at Caleb at a very close range.

Q:   Okay, and where are you pointing your…your gun at him at?
A:   I believe at that time it was at his head.

Q:   Okay, were you saying anything to him?
A:   I’m sure we were yelling commands.

Q:   But do you remember anything that you were saying?
A:   I do not.

Q:   Okay. So then, at that point did you stay that close or did you step away from him? Describe that to me.
A:   That’s…that would’ve been about the time that he broke free.

Q:   Okay. Then you…okay, so then he broke free.
A:   Correct.

Q:   At what point in time when he broke free? The first time whenever you pulled…he pulled his hand away
     from you?
A:   No, when they were…when he was still standing over John…Agent Stuart.

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Q:   Okay, so you…did you have any control over him at all, with your hands?
A:   I did not.

Q:   And…and that’s when you pulled your…your sidearm out, okay. And then, so you pointed your…your
     sidearm at him…
A:   Yes.

Q:   …while he’s…and what’s he doing with John?
A:   He’s currently wrestling on the ground with John and he’s also reaching for his firearm.

Q:   Okay.
A:   Reaching towards his waistband area.

Q:   Okay, and tell me again how close were you to him?
A:   I mean, we were…I mean, we were basically touching.

Q:   Okay, and then to make sure I didn’t…where were you pointing your gun at?
A:   I would believe at that time it would be at his head.

Q:   Okay, and then where were you standing whenever you actually shot…or fired…or, you know, shot your
     sidearm? Fired your shot from your sidearm.
A:   Where was I standing in relation to where he was?

Q:   Yeah.
A:   So, we were…we were a distance away from each other at that time.

Q:   So, does that mean you stepped back, or they stepped…or they went forward? Did you step back, or did
     they move away from you as a group? Does that make sense?
A:   No, it doesn’t; I’m sorry, you lost me.

Q:   So, at one point in time you’re standing up real close to him.
A:   Yes.

Q:   And then, when you fire your sidearm, you’re not that close to him, correct?
A:   Correct.

Q:   You’re a distance away from him. How does that distance happen?
A:   So, Caleb moved backwards to create distance from John…

Q:   Okay.
A:   …and I believe at that time I was also moving as well.

Q:   Which direction were you moving?
A:   I don’t remember.

Q:   Not…not north, south, east, or west. Front to back, which direction are you moving?
A:   I don’t…

Q:   Okay.
A:   …I don’t really remember.
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Q:   Okay, so is it Caleb that created the distance, you think?
A:   Yes.

Q:   Or was it you that created the distance?
A:   Caleb created distance from John which created distance from me and him as well.

Q:   Okay. So, is there anything else that you can remember about this struggle, from the time that, you know,
     you had your hands on him, to the time you broke free; is there anything else you can remember that
     happened during that time that I haven’t asked about, or that you haven’t told me about?
A:   No.

Q:   Okay. What about your…you said you had a malfunction.
A:   Yes.

Q:   What’s that…what happened?
A:   What happened, like the malfunction?

Q:   Mm hmm.
A:   I had a failure to eject and a round got stacked on top of it.

Q:   Okay, and so what did you do to clear that malfunction?
A:   I locked the slide to the rear, pulled the mag out, got that…got the round that was still currently chambered
     and shook that out, reseated the mag and then basically made it ready again.

Q:   Okay, and did you fire your sidearm after that point?
A:   I did not.

Q:   And why…why was that?
A:   Because the…because Caleb was no longer a threat at that time.

Q:   Okay. And then, this is…this sidearm that you used, what…what was it? What brand and…
A:   It’s a Glock 26.

Q:   Glock 26. After the shooting and you, you know, you said you went over to your car. Did you manipulate
     your gun in any way? I think I’ve already asked this question already, but I just want to make sure. Did
     you eject any rounds, did you add any rounds?
A:   I did not.

Q:   Did you change anything to that…to that firearm after…after the shooting?
A:   No, sir, it was as it was.

Q:   Okay. I believe I’m done.
A:   Okay.

Q:   If, by chance, if I have any questions and things that I forgot to ask you later on, what would be the process
     for asking you those questions, do you know?
M:   Call me.

Q:   Call you first?
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M:     Mm hmm.

Q:     Okay. ‘Cause I…there’s…it’s possible. I mean, there’s a lot that we’ve covered…
M:     Sure.

Q:     …as you can understand. I mean, I don’t know all of it. So, I…I think we’ve covered everything that is
       pertinent. Do you have any questions for me?
A:     Not at this time.

Q:     Okay, give me just one more minute and then I’ll get you guys out of here.
A:     Okay.

(Sound of door opening and closing)

(Sound of door opening)

Q:     All right, gentlemen, this way. If you guys wouldn’t mind, just wait at the end of the hall right there.

(Sound of door closing)

END




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